Case 6:24-cr-00074-JSS-EJK      Document 64      Filed 12/30/24   Page 1 of 24 PageID 207




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISON

 UNITED STATES OF AMERICA,        )
                                  )
 v.                               )
                                  )              Case No. 6:24-cr-00074-JSS-EJK
 JEREMY CHARLES DEWITTE           )
                                  )
            Defendant.            )
 _________________________________)

                      United States’ Sentencing Memorandum

       Defendant Jeremy DeWitte was indicted in March of 2024 on two counts of

 filing false tax returns, in violation of 26 U.S.C. § 7206(1), for failing to report

 most of the revenue he earned from his funeral-procession escort business. From

 2016-2018, he omitted from his tax returns more than $475,000 in gross receipts,

 causing a tax loss over $100,000. DeWitte pled guilty to both counts in the

 indictment without a plea agreement.

       With an extensive criminal history, DeWitte’s Sentencing Guidelines range

 is 41 – 51 months’ incarceration. The United States requests the Court to impose a

 51-month sentence because it is necessary to protect the public from DeWitte’s

 repeated criminal activity and to deter him and others from lying on their tax

 returns. The United States further urges the Court to order DeWitte’s sentence to

 run consecutively to the sentence that the Osceola County Circuit Court recently

 imposed on him for an unrelated crime. Finally, the United States requests the
Case 6:24-cr-00074-JSS-EJK     Document 64     Filed 12/30/24   Page 2 of 24 PageID 208




 Court to order DeWitte to pay $69,461 in restitution as a condition of his

 supervised release.

       DeWitte’s tax fraud is only the latest in a long series of state and federal

 crimes that he has committed over the past 25 years, crimes that reveal his willful

 and repetitive contempt for the rules of civilized society. Like filing false tax

 returns, most of DeWitte’s prior convictions have involved deceiving the public

 or lying to the government. These include: nine convictions for impersonating a

 police officer; using a fake name to obtain a driver’s license; and using a fake

 driver’s license to obtain a U.S. passport. DeWitte’s other convictions include a

 sex offense and four other convictions, starting in 2018 and continuing through

 October of this year, for failing to comply with Florida’s sex-offender registration

 laws. The Court should take his criminal history fully into account when

 fashioning a sentence.

                                        FACTS

       DeWitte was indicted on March 27, 2024, for two counts of filing false tax

 returns, in violation of 26 U.S.C. § 7206(1), for 2017 and 2018. On September 25,

 2024, DeWitte appeared before Magistrate Judge Kidd and pleaded guilty to both

 counts of his indictment without a plea agreement (despite being offered one).

 On October 15, 2024, the Court accepted DeWitte’s guilty plea and adjudicated

 him guilty.

                                           2
Case 6:24-cr-00074-JSS-EJK     Document 64     Filed 12/30/24   Page 3 of 24 PageID 209




         The facts underlying DeWitte’s tax crimes are straightforward: he lied

 about his business’s revenue on his 2017 and 2018 federal individual income-tax

 returns. And, as the PSR properly counts as relevant conduct, he lied on his 2016

 tax return as well. But those aren’t the only lies DeWitte had told in this case. He

 also lied to the IRS agents who were investigating him, he lied to the Court, and

 he lied to the Probation Officer. A recap of DeWitte’s lies follows, starting with

 the tax returns.

    I.      DeWitte’s Lies on His Tax Returns

         Since at least 2016, DeWitte has been the sole owner of Metro State Special

 Services, a funeral-procession escort business. See Presentence Investigation

 Report (D. 62, “PSR”) at ¶¶ 7 - 8. As the sole owner, DeWitte was required to

 report Metro State’s revenue and expenses on a Schedule C to his tax return. But

 for three consecutive years, 2016 through 2018, DeWitte filed federal income tax

 returns, Forms 1040, that understated Metro State’s gross income See id. Table 1

 below compares Metro State’s actual income with what DeWitte reported:




                                           3
Case 6:24-cr-00074-JSS-EJK        Document 64       Filed 12/30/24   Page 4 of 24 PageID 210




       Table 1.        Reported vs. actual income - 2016 – 2018
                       (rounded)
    Year          Reported income        Actual income($)
                               ($)

    2016                     11,000                 145,000

    2017                     19,000                 174,000

    2018                     17,000                 205,000

     Total:                  47,000                 524,000
       See id.

       Naturally, DeWitte’s lies about Metro State’s income resulted in his

 underreporting his tax liability for 2016 – 2018 by over $100,000. Said another

 way, through his lies DeWitte lined his pockets with more than $100,000 that

 belonged to the United States. Table 2 below shows the tax loss:

       Table 2.        Tax loss - 2016 - 2018

           Year        (Refund) or Tax       Corrected                Additional
                       Due Per Return         Tax Due                  Tax Due

           2016            ($129)               $39,280                 $39,409

           2017           ($1,556)              $35,889                 $37,445

           2018              $0                 $32,016                 $32,016

                                                TOTAL                  $108,870
       See id. ¶ 13.




                                                4
Case 6:24-cr-00074-JSS-EJK        Document 64    Filed 12/30/24      Page 5 of 24 PageID 211




    II.      DeWitte’s Lies to IRS Agents

          DeWitte also lied to IRS agents when they questioned him about his tax

 returns. When asked how he calculated and reported Metro State’s income on his

 tax returns, DeWitte told the case agents that he saved copies of the checks that

 he received from customers and that he reported all his income See id. ¶ 9. This,

 we now know from the investigation which matched client payments and bank

 account deposits, alongside DeWitte’s guilty plea, was false.

          And DeWitte told other lies to the IRS agents as well:

              He lied about his clients: DeWitte told the agents that in 2017 Metro

                State had only two clients. See id. ¶ 11. In fact, Metro State had 40

                clients that year. See id.

              He lied about his profits: DeWitte told the agents that in 2017 Metro

                State incurred a net loss. See id. But Metro State was profitable that

                year: even allowing for expenses that DeWitte didn’t claim, Metro

                State’s 2017 net profit was over $117,000. See id.

              He lied about his workers: DeWitte told the agents that in 2017

                Metro State had only two independent contractors. See id. But in fact,

                DeWitte had over 25 people working for him at Metro State that

                year. See id.

                                             5
Case 6:24-cr-00074-JSS-EJK     Document 64     Filed 12/30/24   Page 6 of 24 PageID 212




    III.   DeWitte’s Lies to the Court

        DeWitte also lied to the Court about his failure to appear at his re-

 scheduled initial-appearance hearing, which had initially been set by a summons

 (D.3). On April 2, 2024, the Court issued a notice rescheduling that hearing to

 11:00 a.m. on April 10, 2024. See D. 12. DeWitte failed to appear. See D. 13. He

 told his attorney that he had car problems, and the attorney relayed that to the

 Court. See PSR ¶ 15. The Court then rescheduled the hearing to the next day,

 April 11, at 8:30 a.m. See D.14. DeWitte failed to appear for that as well. See PSR ¶

 15. Although he told his counsel that he had been arrested that morning, that

 was false. See id. The Court then issued a bench warrant. See D. 19, D. 20.

        Based on his objections to the PSR, DeWitte still maintains that he couldn’t

 attend the April 11 hearing because he was under arrest. Those allegations to the

 Court are dubious, insofar as records from the Osceola County Sheriff’s Office

 report that DeWitte was not under arrest at the time of the hearing (8:30 a.m.);

 rather, he was arrested that evening, when he turned himself in to the Sheriff’s

 Office. See id.

        The Sheriff’s Office reports are attached as Exhibits 1 and 2 to this

 memorandum. The call report indicates that DeWitte called that office at 6:08

 p.m.—more than nine hours after his scheduled the initial appearance. See Ex. 1,

 Osceola County Sheriff’s Office Call Detail Report. The arrest report states that

                                           6
Case 6:24-cr-00074-JSS-EJK     Document 64    Filed 12/30/24      Page 7 of 24 PageID 213




 DeWitte was arrested on April 11 at 7:34 p.m. See Exhibit 2, Osceola County

 Uniform Charging Affidavit. Thus, the sheriff’s arrest records show that DeWitte

 was not under arrest at the time of his rescheduled initial-appearance hearing.

    IV.   DeWitte’s Lie to the Probation Officer

       In his interview with Probation , DeWitte reported that he earned a

 bachelor’s degree from the University of Florida. See id. ¶ 78. Unsurprisingly, the

 University of Florida has no record of his attendance. See id.


                         GUIDELINES CALCULATIONS
       The United States agrees with the final PSR calculations:

  Tax loss to federal government           $108,870                 PSR ¶ 13
  (including tax loss for offense of
  conviction)

  Base Offense Level                           16                   PSR ¶ 19



  Adjustment for obstruction of                 2                   PSR ¶ 23
  justice. USSG § 3C1.1.

  Adjustment for acceptance of                 (3)                  PSR ¶¶ 26, 27
  responsibility

  Total Offense Level                          15                   PSR ¶ 28

  Criminal History score                       29                   PSR ¶ 48

  Criminal History Category                    VI                   PSR ¶ 48

  Guidelines imprisonment range         41 to 51 months             PSR ¶ 99



                                          7
Case 6:24-cr-00074-JSS-EJK     Document 64      Filed 12/30/24   Page 8 of 24 PageID 214




       DeWitte objects to the obstruction-of-justice enhancement. However,

 without a doubt that enhancement applies to these facts, and the Court should

 overrule the objection. Section 3C.1.1 of the Sentencing Guidelines provides, in

 pertinent part—

              If (1) the defendant willfully obstructed or impeded, or
              attempted to obstruct or impede, the administration of
              justice with respect to the investigation, prosecution, or
              sentencing of the instant offense of conviction, and (2)
              the obstructive conduct related to (A) the defendant's
              offense of conviction and any relevant conduct; or (B) a
              closely related offense, increase the offense level by 2
              levels.

 U.S.S.G. § 3C1.1. The Application notes to this section explain that a willful

 failure to appear at a hearing falls within this section:

              4. Examples of Covered Conduct.—The following is
              a non-exhaustive list of examples of the types of
              conduct to which this adjustment applies:

              ***
              (E) escaping or attempting to escape from custody
              before trial or sentencing; or willfully failing to appear,
              as ordered, for a judicial proceeding.

 Id., Application Note 4 (emphasis added).

       As the PSR recognizes, this enhancement applies to DeWitte because he

 willfully failed to appear at his arraignment hearing. The rationale behind this

 enhancement is that defendants like DeWitte who commit crimes and then make

                                            8
Case 6:24-cr-00074-JSS-EJK     Document 64     Filed 12/30/24   Page 9 of 24 PageID 215




 unlawful attempts to avoid answering for them are more threatening to society

 and less deserving of leniency than defendants who don’t defy the criminal-

 justice process. See United States v. Dunnigan, 507 U.S. 87, 97 (1993); United States

 v. Emery, 991 F.2d 907 (1st Cir.1993). Numerous courts, including the Eleventh

 Circuit, have thus held that the enhancement under USSC § 3C.1.1 is appropriate

 when a defendant willfully fails to appear for his arraignment. See United States v.

 Ortiz, 194 F. App'x 895, 896 (11th Cir. 2006) (unpublished); United States v. Teta,

 918 F.2d 1329, 1334 (7th Cir. 1990); see also Balbuena v. United States, 2011 WL

 6025656, at *12 (S.D. Fla. 2011) (applying the § 3C.1.1 enhancement for

 defendant’s failure to appear at his change-of-plea hearing). The Court should

 therefore apply it to DeWitte as well.


                      SENTENCING RECOMMENDATION
       The United States recommends that the Court impose a 51-month prison

 sentence, followed by a one-year term of supervised release. This sentence is

 sufficient, but not greater than necessary to comply with the purposes of

 sentencing. 18 U.S.C. section 3553. The government further requests that the

 Court condition DeWitte’s supervised release on DeWitte’s paying restitution to

 the United States in the amount of $69,461, which is the tax loss pertaining to the

 counts of conviction.




                                           9
Case 6:24-cr-00074-JSS-EJK        Document 64      Filed 12/30/24   Page 10 of 24 PageID 216




          In determining an appropriate sentence, 18 U.S.C. § 3553(a) instructs

  courts to consider, among other things, the following factors:

      The nature of the offense and defendant’s personal history; see 18 U.S.C. §
          3553(a)(1);
      The need for the sentence to reflect the seriousness of the offense, to
          promote respect for the law, and to provide just punishment for the
          offense; see id. § 3553(a)(2)(A);
      The need to afford adequate deterrence to criminal conduct; see id. §
          3553(a)(2)(B);
      The need to protect the public from further crimes of the defendant; see id.
          § 3553(a)(2)(C); and
      The need to avoid unwarranted sentencing disparities among defendants
          with similar records who have been found guilty of similar conduct; see id.
          § 3553(a)(6).
          For the reasons set out below, consideration of the above § 3553 factors all

  counsel in favor of a Guidelines sentence in this case.

     I.      The Nature of the Offense and the Defendant’s Personal
             History

          DeWitte’s tax fraud was greed-driven and repeated. His business took in

  income of more than $500,000 from 2016 to 2018, yet he reported only $47,000 of

  that income—less than 10% of the actual amount. See PSR ¶ 8. DeWitte’s

  fraudulent reporting allowed him to line his pockets with more than $100,000 in

  untaxed cash. See PSR ¶ 13.


                                              10
Case 6:24-cr-00074-JSS-EJK     Document 64      Filed 12/30/24   Page 11 of 24 PageID 217




         There are no mitigating circumstances underlying his conduct or in his

  background. DeWitte earned a substantial income, and nevertheless chose

  repeatedly and consistently to lie on his tax returns. And then he lied to the IRS

  special agents when they caught him. In other words, DeWitte has no excuse for

  his conduct: it was pure greed.

         Given DeWitte’s personal history, it is no surprise that he would cheat on

  his taxes. His lies to the IRS and this Court are in keeping with his repeated

  criminal conduct. He has no excuse for this either. His background is enviable

  in its lack of remarkability. DeWitte described his childhood as “great.” PSR ¶¶

  65, 66. He reported that there were no instances of domestic abuse, violence, or

  substance abuse in his household. Indeed, all of his basic needs were provided

  for. See id.

         Yet his criminal history is vast and varied, with 16 felony convictions

  starting in 1998, when he was 18 years old, and continuing through just a few

  months ago, when he was convicted for failing to comply with Florida law

  governing convicted sex offenders. See PSR ¶¶ 31 – 47. Moreover, DeWitte is

  awaiting trials and sentencing on many more felonies. On January 6, 2025, he is

  scheduled to plead guilty in an insurance-fraud felony case (Ninth Judicial

  Circuit, Orange County, Case No. 2023-CR-000843), and on January 22, he is

  scheduled to begin trial on two more felony sex-offender registration cases

                                           11
Case 6:24-cr-00074-JSS-EJK      Document 64      Filed 12/30/24   Page 12 of 24 PageID 218




  (Ninth Judicial Circuit, Osceola County Case Nos. 2024-CF-000469 and 2024-CF-

  000990).

           There are no mitigating circumstances. Indeed, it is quite the opposite—

  DeWitte’s personal history weighs heavily in favor of a Guidelines prison

  sentence.

     II.      Protecting the Public
           The Sentencing Guidelines call for longer sentences for defendants with

  extensive criminal histories for good reason: longer sentences protect the public

  from recidivists.

                 A defendant's record of past criminal conduct is directly
                 relevant to [the purposes of sentencing]. A defendant
                 with a record of prior criminal behavior is more
                 culpable than a first offender and thus deserving of
                 greater punishment. . . . To protect the public from
                 further crimes of the particular defendant, the
                 likelihood of recidivism and future criminal behavior
                 must be considered. Repeated criminal behavior is an
                 indicator of a limited likelihood of successful
                 rehabilitation.

  U.S.S.G. Chapter 4, introductory comment (emphasis added).

           DeWitte’s criminal history shows him to be a committed recidivist. He has

  16 felony convictions since 1998, placing him within the highest criminal-history

  category, Category VI. See PSR ¶¶ 31 – 47. Many of those convictions involve

  crimes of deceiving the public (nine convictions for impersonating a law-

  enforcement officer) or lying to the government (lying to the State of Florida on a

                                            12
Case 6:24-cr-00074-JSS-EJK     Document 64      Filed 12/30/24   Page 13 of 24 PageID 219




  driver’s-license application and lying to the United States on a passport

  application). His lie to this Court about his failure to appear for his arraignment

  is consistent with these prior convictions: he is someone who thinks that he is

  above the law and can lie his way around it to suit his interests.

        Apart from the 16 prison sentences he has already received—with

  sentences of eight days (one sentence), one year (four sentences) 18 months (six

  sentences), and four years (one sentence)—DeWitte has also been jailed on

  multiple occasions for violating probation or the terms of his supervised release.

  See id. DeWitte’s criminal-history score of 29 reveals him as someone for whom

  prior prison sentences have had no effect on his willingness to commit more

  crimes. The only way to stop DeWitte from committing crimes is to incarcerate

  him. The need to protect the public thus calls for a Guidelines sentence that fully

  takes DeWitte’s criminal history into account.

     III.   Seriousness, Just Punishment, and Deterrence

        Tax crimes are serious offenses. See U.S.S.G. 2T1.1. cmnt. 7. The United

  States’ tax system is based on voluntary compliance, and individual taxpayers

  are trusted to honestly report their income and assess their taxes and pay over

  what they owe to the government. Yet the system of voluntary compliance is

  often abused, and federal resources are such that not all tax crimes can be

  prosecuted. For these reasons, deterrence, through sentencing, is of paramount

                                           13
Case 6:24-cr-00074-JSS-EJK     Document 64        Filed 12/30/24   Page 14 of 24 PageID 220




  importance. See USSG §2T1.1, intro. cmt. Honest taxpayers need to know that

  they are not dupes for following the law. And they need to know that those who

  cheat will be punished for their crimes.

        The Eleventh Circuit has repeatedly endorsed this principle, setting aside

  sentences in which the imprisonment was inadequate to promote deterrence.

  “Defendants in white collar [cases] often calculate the financial gain and risk of

  loss, and white collar crime therefore can be affected and reduced with serious

  punishment.” United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006); see also

  United States v. Hayes, 762 F.3d 1300, 1308 (11th Cir. 2014) (“[D]eterrence is an

  important factor in white-collar cases, where the motivation is greed. . . . [W]e

  have set aside sentences of little or no imprisonment because they do not

  constitute just punishment for the offense, do not promote respect for the law,

  and will not do much to deter similar criminal activity by others.”). And indeed,

  “[s]tudies have shown that salient examples of tax-enforcement actions against

  specific taxpayers, especially those that involve criminal sanctions, have a

  significant and positive deterrent effect.” Joshua D. Blank, In Defense of

  Individual Tax Privacy, 61 Emory L.J. 265, 321 (2011).

        A sentence lacking a significant prison term would entirely fail to serve the

  goal of general deterrence. A lenient sentence would encourage tax cheating and

  send a message that tax fraud will be tolerated and that those who engage in it

                                             14
Case 6:24-cr-00074-JSS-EJK    Document 64      Filed 12/30/24   Page 15 of 24 PageID 221




  will not be held accountable. Such a sentence would provide a would-be tax

  cheat every incentive to perpetrate a tax fraud scheme, where the reward is high

  and the chance of being caught and prosecuted is low. The United States

  respectfully submits that this is not the message that this Court should send to

  the public through its sentence of DeWitte. The need for general deterrence, as

  called for in 18 U.S.C. § 3553(a)(2)(B), demands more.

     IV.   Sentencing Disparities
        As the Supreme Court has observed, one of the chief aims of the

  Sentencing Guidelines, even in their advisory role, is to promote uniformity and

  avoid unwarranted disparities in sentencing. See United States v. Booker, 543 U.S.

  220, 264-65 (2005). Here, a Guidelines sentence will promote those goals.

        According to the most recently published data from the United States

  Sentencing Commission, 63.6% of the individuals sentenced for tax-fraud in

  fiscal year 2023 received a prison sentence. See United States Sentencing

  Commission, Quick Facts, Tax Fraud at 1 (Aug. 2024) (available at

  https://www.ussc.gov/research/quick-facts/tax-fraud). And unlike DeWittte,

  more than 86% of those defendants had little or no criminal history (Criminal

  History Category I). See id. The median tax loss was approximately $360,000, and

  the average prison sentence was 16 months. See id.




                                          15
Case 6:24-cr-00074-JSS-EJK     Document 64      Filed 12/30/24   Page 16 of 24 PageID 222




          While a Guidelines sentence for DeWitte would exceed the average prison

  sentence for tax-fraud cases, this is largely due his criminal history. The average

  tax cheat does not have a prolific criminal history. In contrast, DeWitte is a serial

  criminal. Because of his criminal record, the guideline calculation appropriately

  categorizes him in Category VI—accordingly, his sentence calculation is longer.

  Had DeWitte been in Category I, like most tax-fraud offenders, and were he not

  to receive an obstruction-of-justice enhancement, his Offense Level would be 13,

  and the Guidelines sentence would obviously be less. The Guidelines calculation

  appropriately considers DeWitte’s fulsome criminal history, and the sentencing

  guideline range reflects the sentence appropriate for a serial criminal with

  dozens of prior sentencing events. Thus, there is no disparity between DeWitte’s

  Guidelines sentence and the national average of tax offenders at the highest

  criminal history category of VI. His Guidelines sentence is the product of his

  serial criminal conduct.


     V.     DeWitte’s Sentence Should Run Consecutive to the Sentence
            Recently Imposed by Osceola County.
          On November 1, 2024, DeWitte was sentenced by the Osceola County

  Circuit Court to 83 months in prison for failing to comply with Florida’s sex-

  offender registration law (the “Osceola County Sentence”). See PSR at 47. The




                                           16
Case 6:24-cr-00074-JSS-EJK       Document 64      Filed 12/30/24   Page 17 of 24 PageID 223




  Court should order that its sentence for DeWitte’s tax fraud shall run

  consecutively to the Osceola County Sentence.

           As the Eleventh Circuit has recognized, federal courts are authorized to

  impose a federal sentence that is consecutive to a state sentence. See United States

  v. Adair, 826 F.2d 1040, 1041 (11th Cir.1987). Because DeWitte’s tax-fraud and

  sex-offender failure-to-register convictions are wholly unrelated, the Guidelines

  permit the Court to impose a sentence that is consecutive, concurrent, or partially

  concurrent “to achieve a reasonable punishment for the instant offense.” U.S.S.G.

  § 5G1.3(d).1 (The result would be otherwise if DeWitte’s state-court sentence

  were for an offense that was “related conduct” to the instant offense. See id. §

  5G1.3(b) and (c) (requiring a concurrent sentence)). The advisory notes to

  § 5G1.3(d) instruct courts to consider the following factors in cases where a

  defendant is already serving a sentence for an unrelated crime:

                 (i) the factors set forth in 18 U.S.C. § 3584 (referencing
                 18 U.S.C. § 3553(a));


  1
      This section provides, in pertinent part:

                 (Policy Statement) In any other case involving an
                 undischarged term of imprisonment, the sentence for
                 the instant offense may be imposed to run concurrently,
                 partially concurrently, or consecutively to the prior
                 undischarged term of imprisonment to achieve a
                 reasonable punishment for the instant offense.

  U.S.S.G. § 5G1.3(d).
                                             17
Case 6:24-cr-00074-JSS-EJK      Document 64      Filed 12/30/24   Page 18 of 24 PageID 224




               (ii) the type (e.g., determinate,
               indeterminate/parolable) and length of the prior
               undischarged sentence;

               (iii) the time served on the undischarged sentence and
               the time likely to be served before release;

               (iv) the fact that the prior undischarged sentence may
               have been imposed in state court rather than federal
               court, or at a different time before the same or different
               federal court; and

               (v) any other circumstance relevant to the
               determination of an appropriate sentence for the instant
               offense.
  U.S.S.C. § 5G1.3, Application note 4.

         Here, the above factors warrant a sentence that will run consecutively to

  the Osceola County Sentence. As set out above, the § 3553 factors counsel

  strongly in favor of a substantial prison sentence. And while Florida does not

  allow parole for people convicted after 1983, see Fla. Stat. § 947.16(6), inmates can

  obtain early release after serving at least 85% of their sentence. See id. § 944.275(f).

  At most, DeWitte is two months into his 83-month Osceola County Sentence, but

  his past experience with prison sentences has shown that those sentences do not

  deter him from committing future crimes. That fact counsels in favor of a

  consecutive sentence here: the surest and only way to deter DeWitte from

  committing more crimes, and to protect the public from him, is to incarcerate

  him.



                                            18
Case 6:24-cr-00074-JSS-EJK      Document 64      Filed 12/30/24   Page 19 of 24 PageID 225




         The Eleventh Circuit has repeatedly recognized that the Sentencing

  Guidelines reflect a preference for consecutive sentences when imprisonment

  terms are imposed at different times. See United States v. Ballard, 6 F.3d 1502, 1506

  (11th Cir. 1993); United States v. Lewis, 626 F. App'x 896, 899 (11th Cir. 2015);

  United States v. Williams, 592 F. App'x 828, 830 (11th Cir. 2014). And it has

  repeatedly affirmed district courts that ordered consecutive sentences when the

  federal offense was unrelated to pending or anticipated state-court sentence.

  See—

             United States v. Gomez, 955 F.3d 1250, 1254–55 (11th Cir. 2020)
               (affirming 46-month sentence for illegal reentry and 21-month
               sentences for violation of supervised release, with each was to run
               consecutively with an 8-year state sentence for sexual battery where
               district court had noted its grave concern about deterring the
               defendant and protecting the public from him);

             United States v. Lavariega-Juarez, 768 F. App'x 978, 981–82 (11th Cir.
               2019) (affirming 24-month sentence for illegal reentry that was to
               run consecutive to an undischarged 18-month state sentence for
               fleeing or eluding a law-enforcement officer; noting that the state
               and federal sentences addressed different societal harms);

             United States v. Lewis, 626 F. App'x 896, 897 (11th Cir. 2015)
               (affirming a 60-month sentence for felon in possession of a firearm
               that was to run consecutive to any sentence that might be imposed
               in a pending state-court criminal case against the defendant);

                                            19
Case 6:24-cr-00074-JSS-EJK     Document 64      Filed 12/30/24   Page 20 of 24 PageID 226




            United States v. Watts, 633 F. App'x 767, 770 (11th Cir. 2015)
               (affirming 24-month sentence for felon in possession of ammunition
               that was to run consecutive to a 15-year state sentence for receiving
               stolen property); and

            United States v. Williams, 592 F. App'x 828, 830 (11th Cir. 2014)
               (affirming 120-month sentence for possession of child pornography
               that was to run consecutive to an undischarged 120-month sentence
               for a drug offence that itself was running concurrently with a sex-
               offender failure-to-register sentence).

        Were the Court to order that DeWitte’s tax-fraud sentence run

  concurrently with the Osceola County Sentence, the result would be the same as

  if the Court were to impose no prison sentence at all. Not only would that send

  the wrong message to DeWitte and the community, it would also waste the

  substantial resources that the United States has expended in investigating and

  prosecuting DeWitte for his tax fraud. The message a concurrent sentence would

  send to the public is that tax crimes are not serious, and that courts are reluctant

  to imprison those convicted of those crimes. But the right message that needs to

  be sent by this Court is that if you cheat on your taxes, you will face prison.


     VI.   The Court has authority to condition DeWitte’s supervised release on
           his paying restitution.
        The Court should impose restitution in the amount of $69,461 as a

  condition of supervised release. Suggested language for such a restitution order

                                           20
Case 6:24-cr-00074-JSS-EJK      Document 64       Filed 12/30/24   Page 21 of 24 PageID 227




  is attached as Exhibit 3. The combination of 18 U.S.C. § 3663 and 18 U.S.C.

  § 3663A, when read together, allows district courts to order restitution for Title

  26 offenses as a condition of supervised release. Section 3583(d) of Title 18

  authorizes district courts to impose, as a condition of supervised release, “any

  condition set forth as a discretionary condition of probation in section 3563(b).”

  Section 3563(b), in turn, authorizes a district court to order a defendant to “make

  restitution to a victim of the offense under section 3556.” 18 U.S.C. § 3563 (b)(2).

  Section 3556 then authorizes a district court to “order restitution in accordance

  with section 3663,” which provides that a court “may order . . . that the

  defendant make restitution to any victim of such offense.” 18 U.S.C. §

  3663(a)(1)(A). And though § 3663 by its own terms limits restitution to certain

  (non tax) offenses, § 3563(b)(2) expressly provides that § 3663’s limitation in

  scope does not apply to restitution as a condition of probation (or, accordingly,

  as a condition of supervised release). See 18 U.S.C. 3563(b)(2). Multiple circuit

  courts have recognized this. See United States v. Perry, 714 F.3d 570, 577 (8th Cir.

  2013); United States v. Frith, 461 F.3d 914, 919-20 (7th Cir. 2006) (discussing Title

  15 offenses); United States v. Butler, 297 F.3d 505, 518 (6th Cir. 2002).

        A court's authority to order restitution for Title 26 offenses as a condition

  of probation or supervised release is also explicitly recognized in the Sentencing




                                             21
Case 6:24-cr-00074-JSS-EJK       Document 64       Filed 12/30/24   Page 22 of 24 PageID 228




  Guidelines. See USSG § 5E1.1(a)(2); Gall v. United States, 21 F.3d 107, 109-10 (6th

  Cir. 1994).

           Here, the United States is the victim, and its loss for the two counts of

  conviction is $69,461. See Part I, above, Table 2.0 (showing additional tax due for

  years 2017 and 2018). DeWitte owes the taxes on the income he earned. Justice

  mandates restitution here, and the Court should therefore exercise its power to

  condition DeWitte’s supervised release on his paying restitution to the United

  Staes.


                                      CONCLUSION
           DeWitte’s tax fraud cannot be reduced to an oversight, a mistake that

  spiraled out of control, or a single instance of lying. He lied on three consecutive

  tax returns, and lied some more when the IRS caught him. He then lied to this

  Court about his failure to appear at the initial-appearance hearing, attempting to

  delay his reckoning, and lied again to the Probation Officer.

           This Court should protect the public and deter DeWitte, and others, by

  imposing a serious prison sentence here.

           The United States respectfully requests, therefore, that the Court impose a

  Guidelines sentence and sentence DeWitte to prison for 51 months, followed by a

  one-year period of supervised release, with such release conditioned on

  DeWitte’s paying restitution to the United States in the amount of $69,461—the

                                              22
Case 6:24-cr-00074-JSS-EJK    Document 64      Filed 12/30/24   Page 23 of 24 PageID 229




  tax loss pertaining to the counts of conviction. The United States further requests

  that the Court order that DeWitte’s prison sentence run consecutive to the state

  sentence imposed on November 1, 2024, by the Osceola County Circuit Court.



  Dated: December 30, 2024                     Respectfully submitted,

                                               Roger B. Handberg
                                               UNITED STATES ATTORNEY

                                               /s/ Curtis J. Weidler
                                               Curtis J. Weidler
                                               Trial Attorney
                                               U.S. Dept. of Justice, Tax Division
                                               Southern Criminal Enforcement
                                               Section
                                               150 M. St., NE
                                               Washington, DC 20002
                                               (202) 307-1436
                                               Curtis.j.weidler@usdoj.gov

                                               David Zisserson
                                               Asst. Chief, Southern Criminal
                                               Enforcement Section
                                               U.S. Dept. of Justice, Tax Division,
                                               150 M. St., NE
                                               Washington, DC 20002
                                               (202) 514-6479
                                               David.zisserson@usdoj.gov




                                          23
Case 6:24-cr-00074-JSS-EJK     Document 64      Filed 12/30/24   Page 24 of 24 PageID 230




                             CERTIFICATE OF SERVICE

         I certify that on the 30th day of December, 2024, I filed this document using

  the Court’s CM/ECF system, which automatically notifies all counsel of record

  of the filing.

                                                /s/ Curtis J. Weidler
                                                Curtis J. Weidler
                                                Trial Attorney
                                                U.S. Dept. of Justice, Tax Division
                                                150 M. St., NE
                                                Washington, DC 20002
                                                (202) 307-1436
                                                Curtis.j.weidler@usdoj.gov




                                           24
